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                           No. 23-10362
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        IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


            ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.,
                       Plaintiffs-Appellees,
                                 v.
            U.S. FOOD AND DRUG ADMINISTRATION, ET AL.,
                      Defendants-Appellants,
                                    and
                       DANCO LABORATORIES, LLC,
                         Intervenor-Appellant.


  On Appeal from the United States District Court for the Northern
               District of Texas, No. 2:22-cv-00223-Z


   APPENDIX OF EXHIBITS IN OPPOSITION TO AN EMERGENCY STAY
      PENDING APPEAL VOLUME 2 (ALLIANCE.APP. 115-174)


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             RESEARCH

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                    020687Orig1s020

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              DFFHSWDEOH 6HHUHYLHZGDWHG0DUFK 7KH&0&UHYLHZWHDPUHFRPPHQGV
              DSSURYDORIWKHHIILFDF\VXSSOHPHQWUHIHUDOVRWRWKH&0&UHYLHZRIWKHVHSDUDWH
              VXSSOHPHQWSURSRVLQJDVLQJOHWDEOHWEOLVWHUSDFNIRU0LIHSUH[GDWHG-DQXDU\
              7KHUHDUHQRRXWVWDQGLQJ&0&LVVXHVRUSRVWPDUNHWLQJFRPPLWPHQWVRUUHTXLUHPHQWV

              Comment: On March 10, 2016, a separate CMC supplement was approved that allowed
              the packaging of individual 200 mg tablets of mifepristone; previously packaging
              consisted of three 200 mg tablets per blister pack (a total of 600 mg Mifeprex as
              administered under the originally approved dosing regimen).

              4. Nonclinical Pharmacology/Toxicology

              1RQHZQRQFOLQLFDOLQIRUPDWLRQZDVVXEPLWWHGLQWKLVVXSSOHPHQW7KH
              3KDUPDFRORJ\7R[LFRORJ\WHDPUHYLVHGODEHOLQJWRFRQIRUPWRWKH3UHJQDQF\DQG
              /DFWDWLRQ/DEHOLQJ5XOH7KHUHDUHQRRXWVWDQGLQJQRQFOLQLFDOLVVXHV7KH
              3KDUPDFRORJ\7R[LFRORJ\UHYLHZWHDPUHFRPPHQGVDSSURYDORIWKHHIILFDF\
              VXSSOHPHQWUHIHUWRWKH3KDUPDFRORJ\7R[LFRORJ\UHYLHZGDWHG0DUFK
              
              5. Clinical Pharmacology

              7KH$SSOLFDQWGLGQRWFRQGXFWDQ\QHZFOLQLFDOSKDUPDFRORJ\VWXGLHVSHUWDLQLQJWRWKH
                                (b) (4)
              SURSRVHG                 UHJLPHQEXWSURYLGHGLQIRUPDWLRQRQSKDUPDFRNLQHWLFV 3. RI
              PLVRSURVWROIROORZLQJYDULRXVURXWHVRIDGPLQLVWUDWLRQ7KH3.RIWKHPJ0LIHSUH[
              WDEOHWKDVQRWEHHQFKDUDFWHUL]HGLQZRPHQEXWGDWDDUHDYDLODEOHLQPHQDQGZHUH
              VXEPLWWHGLQWKHRULJLQDO1'$7KH&OLQLFDO3KDUPDFRORJ\UHYLHZWHDPGHWHUPLQHGWKDW
              WKH3.GDWDZHUHDSSURSULDWHIRULQFOXVLRQLQODEHOLQJ5HYLHZRIWKHODEHOLQJSHUWLQHQW
              WRWKH&OLQLFDO3KDUPDFRORJ\VHFWLRQVLVFRPSOHWHDQGODEHOLQJUHOHYDQWWR
              SKDUPDFRNLQHWLFVDQGSKDUPDFRG\QDPLFVLVDFFHSWDEOH7KHUHDUHQRRXWVWDQGLQJ
              &OLQLFDO3KDUPDFRORJ\LVVXHVRUSRVWPDUNHWLQJFRPPLWPHQWVRUUHTXLUHPHQWV7KH
              FOLQLFDOSKDUPDFRORJ\UHYLHZWHDPUHFRPPHQGVDSSURYDORIWKHHIILFDF\VXSSOHPHQW
              UHIHUWRWKH&OLQLFDO3KDUPDFRORJ\UHYLHZGDWHG0DUFK



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              6. Clinical Microbiology

              1RWDSSOLFDEOH

              7. Efficacy/Statistics

              7KH$SSOLFDQWVXEPLWWHGSXEOLVKHGOLWHUDWXUHDVWKHSULPDU\HYLGHQFHWRVXSSRUWWKH
              HIILFDF\ DQGVDIHW\ RIWKHSURSRVHGGRVLQJUHJLPHQ UHIHUWRWKH&OLQLFDO5HYLHZGDWHG
              0DUFK6HFWLRQIRUDOLVWRIVXEPLWWHGUHIHUHQFHV 0RVWSXEOLVKHGDUWLFOHV
              VXEPLWWHGE\WKH$SSOLFDQWDQGUHYLHZHGE\WKHFOLQLFDOUHYLHZWHDPUHSRUWHGWKH
              SULPDU\HIILFDF\HQGSRLQWDVFRPSOHWHWHUPLQDWLRQRISUHJQDQF\ZLWKRXWIXUWKHUPHGLFDO
              RUVXUJLFDOLQWHUYHQWLRQWKH'LYLVLRQFRQVLGHUVWKLVWREHDFOLQLFDOO\UHOHYDQWHQGSRLQW
              
              7KHPDMRULW\RIWKHSXEOLFDWLRQVLQFOXGHGDVWDWHPHQWWKDWWKHVWXG\ZDVFRQGXFWHGXQGHU
              LQVWLWXWLRQDOUHYLHZERDUG ,5% RU(WKLFDO5HYLHZ&RPPLWWHHDSSURYDODQGWKHZRPHQ
              JDYHLQIRUPHGFRQVHQW7KHFOLQLFDOUHYLHZWHDPFRQFOXGHGWKDWWKHSXEOLVKHGOLWHUDWXUH
              ZDVDGHTXDWHDVWKHSULPDU\LQIRUPDWLRQVRXUFHWRVXSSRUWWKHFKDQJHVSURSRVHGLQWKH
              HIILFDF\VXSSOHPHQW'XULQJWKHFRXUVHRIWKHUHYLHZWKHWHDPDOVRUHTXHVWHGDQG
              UHFHLYHGPRUHGHWDLOHGLQIRUPDWLRQIURPVHOHFWSXEOLFDWLRQVIURPWKHLUDXWKRUVYLD
              FRPPXQLFDWLRQZLWKWKH$SSOLFDQW
              
              $OWKRXJKWKHUHZHUHVOLJKWGHPRJUDSKLFGLIIHUHQFHVDPRQJWKHSXEOLVKHGVWXGLHVIURP
              WKHGDWDEDVHWKHVHGLIIHUHQFHVZHUHQRWH[SHFWHGWRDOWHUWKHHIILFDF\RUVDIHW\RI
              0LIHSUH[7KHUHIRUHIRUWKHPDMRULW\RIWKHSURSRVHGHIILFDF\FKDQJHVWKHFOLQLFDOWHDP
              DVVHVVHGHIILFDF\LQIRUPDWLRQIURPDVXEVHWRISXEOLFDWLRQVWKDWHYDOXDWHGDJLYHQ
              SURSRVHGFKDQJH$QLQGHSHQGHQWVWDWLVWLFDOUHYLHZZDVQRWQHHGHGIRUWKLVUHYLHZRI
              SXEOLVKHGOLWHUDWXUH
              
              7KHFOLQLFDOUHYLHZWHDPLGHQWLILHGVHYHUDOPDMRUSURSRVHGFOLQLFDOFKDQJHVLQWKH
              HIILFDF\VXSSOHPHQW$VWKHVHPDMRUFKDQJHVDUHLQWHUUHODWHGLQVRPHFDVHVGDWDIURPD
              JLYHQVWXG\ZHUHUHOLHGRQWRSURYLGHHYLGHQFHWRVXSSRUWPXOWLSOHFKDQJHV7KHVHPDMRU
              FKDQJHVDVFRQVLGHUHGE\WKHFOLQLFDOWHDPLQFOXGHG
                   $SURSRVHGGRVLQJUHJLPHQFRQVLVWLQJRIPLIHSULVWRQHPJRUDOO\IROORZHGE\
                       WKHEXFFDODGPLQLVWUDWLRQRIPFJPLVRSURVWROLQFOXGLQJ
                           D 8VHRIDUHYLVHGLQWHUYDOEHWZHHQPLIHSULVWRQHDQGPLVRSURVWROIURP
                               KRXUVWRKRXUV
                           E $OORZLQJKRPHDGPLQLVWUDWLRQRIPLVRSURVWRO
                           F 8VHRIDQDGGLWLRQDOGRVHRIPLVRSURVWRO
                   6XSSRUWIRUH[WHQGLQJWKHJHVWDWLRQDJHWKURXJKGD\V
                   )OH[LELOLW\LQIROORZXSYLVLWIROORZXSLVQHHGHGLQWKHUDQJHRIGD\VDIWHU
                       0LIHSUH[DGPLQLVWUDWLRQWKHVSHFLILFQDWXUHDQGH[DFWWLPLQJRIWKHIROORZXSWR
                       EHDJUHHGXSRQE\WKHKHDOWKFDUHSURYLGHUDQGSDWLHQW
                   &KDQJHLQZKRFDQSURYLGH0LIHSUH[IURPSK\VLFLDQWRKHDOWKFDUHSURYLGHUZKR
                       SUHVFULEHV
                       



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              7KHIROORZLQJVHFWLRQVXPPDUL]HVWKHFOLQLFDOUHYLHZWHDP¶VHYDOXDWLRQVWKDWVXSSRUWHG
              WKHDERYHSURSRVHGFKDQJHV
              
                   Support for the proposed dose and dosing regimen of 200 mg of Mifeprex orally
                     and 800 mcg of misoprostol buccally 24-48 hours after Mifeprex administration:
                     7KHFOLQLFDOUHYLHZWHDPUHYLHZHGWKHVXEPLVVLRQDQGLGHQWLILHGVWXGLHVDQG
                     UHYLHZDUWLFOHVWKDWHYDOXDWHGRYHUZRPHQZKRZHUHWUHDWHGZLWKHIILFDF\
                     LQWKHUDQJH)RUDGGLWLRQDOGHWDLOVRQWKHHIILFDF\IURPWKHVHVWXGLHV
                     SOHDVHUHIHUWR6HFWLRQRIWKH&OLQLFDO5HYLHZ
                      
                   Support for extending the gestational age to 70 days:
                     7KH$SSOLFDQWVXEPLWWHGDQXPEHURISXEOLVKHGDUWLFOHVDQGV\VWHPDWLFUHYLHZV
                     WKDWVXSSRUWHGWKHSURSRVHGGRVHDQGGRVLQJUHJLPHQ)RXUVWXGLHVDQGRQH
                     V\VWHPDWLFUHYLHZHYDOXDWHGWKHH[DFWSURSRVHGGRVLQJUHJLPHQWKURXJKGD\V
                     JHVWDWLRQ7KHVHLQFOXGHWKUHHSURVSHFWLYHREVHUYDWLRQDOVWXGLHV :LQLNRIIHWDO
                      %RHUVPDHWDO 6DQKXH]D6PLWKHWDO  DQGRQHUDQGRPL]HGFRQWUROOHG
                     WULDO 5&7  2ODYDUULHWDHWDO  WKDWKDGDSULPDU\REMHFWLYHRIHYDOXDWLQJPHGLFDO
                     DERUWLRQSURYLVLRQE\QRQSK\VLFLDQV7KHV\VWHPDWLFUHYLHZE\&KHQDQG
                     &UHLQLQ FRYHUHGVWXGLHVLQFOXGLQJRYHUZRPHQDOOEXWRQHRIWKH
                     VWXGLHVXVHGWKHSURSRVHGUHJLPHQLQJHVWDWLRQVWKURXJKGD\V WKHUHPDLQLQJ
                     VWXG\XVHGPFJRIEXFFDOPLVRSURVWRO )RUWKRVHSXEOLFDWLRQVWKDWSURYLGHG
                     RYHUDOOVXFFHVVUDWHVWKHVHZHUHLQWKHUDQJHRI2WKHUUHOHYDQW
                     SXEOLFDWLRQVLQFOXGHWKHV\VWHPDWLFUHYLHZE\5D\PRQG RIVWXGLHVZKLFK
                     FRYHUHGDYDULHW\RIPLVRSURVWROGRVHVDQGURXWHVRIDGPLQLVWUDWLRQXVHGZLWK
                     PJRIPLIHSULVWRQH$VVHVVLQJWKHHIILFDF\E\PLVRSURVWROGRVHWKHSDSHUQRWHG
                     WKDWGRVHVPFJKDGDVXFFHVVUDWHRIZLWKDQRQJRLQJSUHJQDQF\UDWH
                     RI
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                :LQLNRII%']XED,*&KRQJ(HWDO([WHQGLQJRXWSDWLHQWPHGLFDODERUWLRQVHUYLFHVWKURXJKGD\VRI
              JHVWDWLRQDODJH2EVWHW*\QHFRO
              
                %RHUVPD$$0H\ERRPGH-RQJ%.OHLYHUGD*0LIHSULVWRQHIROORZHGE\KRPHDGPLQLVWUDWLRQRI
              EXFFDOPLVRSURVWROIRUPHGLFDODERUWLRQXSWRGD\VRIDPHQRUUKRHDLQDJHQHUDOSUDFWLFHLQ&XUDFDR(XU
              -&RQWUDFHSW5HSURG+HDOWK&DUH
              
                6DQKXH]D6PLWK33HQD0']XED,*HWDO6DIHW\HIILFDF\DQGDFFHSWDELOLW\RIRXWSDWLHQW
              PLIHSULVWRQHPLVRSURVWROPHGLFDODERUWLRQWKURXJKGD\VVLQFHODVWPHQVWUXDOSHULRGLQSXEOLFVHFWRU
              IDFLOLWLHVLQ0H[LFR&LW\5HSURG+HDOWK0DWWHUV
              
                2ODYDUULHWD&'*DQDWUD%6RUKDLQGR$.DUYHU766HXF$9LOODORERV$*DUFLD6*3pUH]0
              %RXVLHJXH]06DQKXH]D31XUVHYHUVXVSK\VLFLDQSURYLVLRQRIHDUO\PHGLFDODERUWLRQLQ0H[LFRD
              UDQGRPL]HGFRQWUROOHGQRQLQIHULRULW\WULDO%XOO:RUOG+HDOWK2UJDQ
              
                &KHQ0-&UHLQLQ0'0LIHSULVWRQHZLWK%XFFDO0LVRSURVWROIRU0HGLFDO$ERUWLRQ2EVWHW*\QHFROD
              6\VWHPDWLF5HYLHZ2EVWHW*\QHFRO  
              
                5D\PRQG(* *ULPHV'$7KHFRPSDUDWLYHVDIHW\RIOHJDOLQGXFHGDERUWLRQDQGFKLOGELUWKLQWKH
              8QLWHG6WDWHV2EVWHW*\QHFRO


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                     7KHRULJLQDOGRVLQJUHJLPHQVSHFLILHVWDNLQJPLVRSURVWROGD\VDIWHU0LIHSUH[
                     7KLVHIILFDF\VXSSOHPHQWSURSRVHVDPRUHIOH[LEOHWLPHIUDPHRIWRKRXUV
                     EHWZHHQ0LIHSUH[DQGPLVRSURVWRODGPLQLVWUDWLRQ'DWDIURPDUHYLHZDUWLFOHE\
                     :HGLVLQJKHHWDO HYDOXDWHGGLIIHUHQWWLPHLQWHUYDOVXVLQJDGPLQLVWUDWLRQRI
                     PLVRSURVWRODIWHU0LIHSUH[$PHWDDQDO\VLVRIDOOILYHVWXGLHVIRXQGDQRQ
                     VLJQLILFDQWRGGVUDWLRIRUIDLOXUHIRUVKRUWHUYVORQJHUGRVLQJLQWHUYDOVEXWDWUHQG
                     IRUORZHUVXFFHVVLIDGRVLQJLQWHUYDOKRXUVLVXVHG&KHQ &UHLQLQ¶V
                     V\VWHPDWLFUHYLHZ RIVWXGLHVLQFOXGLQJRYHUZRPHQDOOEXWRQHXVLQJ
                     WKHSURSRVHGUHJLPHQFRPSDUHGWKHVXFFHVVRIGRVLQJLQWHUYDOVRIKRXUVZLWK
                     LQWHUYDOVUDQJLQJIURPKRXUV7KHVXFFHVVUDWHLQVL[VWXGLHVWKDWXVHGD
                     KRXULQWHUYDOWKURXJKGD\VJHVWDWLRQZDVFRPSDUHGWRWKHUDWHRI
                     LQVWXGLHVWKDWXVHGDKRXULQWHUYDODQGWKLVGLIIHUHQFHZDVVWDWLVWLFDOO\
                     VLJQLILFDQW7KHFOLQLFDOWHDPFRQFOXGHGWKDWWKHHIILFDF\RIWKHUHYLVHGGRVLQJ
                     UHJLPHQZDVQRWFRPSURPLVHGE\UHYLVLQJWKHGRVLQJLQWHUYDOWRKRXUV,Q
                     DGGLWLRQWKH\QRWHGWKDWWKHRYHUDOOUDWHRIRQJRLQJSUHJQDQFLHVGLGQRWGLIIHU
                     VLJQLILFDQWO\E\GRVLQJLQWHUYDO
                      
                  Administration of misoprostol after Mifeprex administration at home: &XUUHQWO\
                     WKHGRVLQJUHJLPHQVSHFLILHVWKDW PLVRSURVWROLVWDNHQLQWKHFOLQLFVHWWLQJ
                     IROORZLQJ0LIHSUH[DGPLQLVWUDWLRQ1RVSHFLILFSXEOLFDWLRQHYDOXDWHGWUHDWPHQW
                     RXWFRPHVZLWKXVHRIPLVRSURVWRODWKRPHFRPSDUHGWRLQFOLQLFGRVLQJ
                     +RZHYHURQHODUJHOLWHUDWXUHUHYLHZ 5D\PRQGHWDO  HYDOXDWHGDYDULHW\RI
                     PLIHSULVWRQHWUHDWPHQWUHJLPHQVZLWKGLIIHUHQWPLVRSURVWROGRVHVURXWHVRI
                     DGPLQLVWUDWLRQDQGGRVLQJLQWHUYDOVXVHGLQJHVWDWLRQVWKURXJKGD\V5RXJKO\
                     KDOIRIWKHVWXGLHVLQFOXGHGLQWKLVUHYLHZGLGQRWUHTXLUHZRPHQWRWDNH
                     PLVRSURVWROLQFOLQLF5DWHVRIWUHDWPHQWIDLOXUHDQGRIRQJRLQJSUHJQDQF\ZHUH
                     YHU\VLPLODUUHJDUGOHVVRIZKHWKHUPLVRSURVWROZDVWDNHQLQFOLQLFRUDWDQRWKHU
                     ORFDWLRQ7KHFOLQLFDOUHYLHZWHDPFRQFOXGHGWKDWWKHUHYLHZSURYLGHGVXIILFLHQW
                     GDWDWRVXSSRUWODEHOLQJWKDWPLVRSURVWROGRHVQRWQHHGWREHUHVWULFWHGWRLQFOLQLF
                     DGPLQLVWUDWLRQ
                 
                  Use of a repeat misoprostol dose, if necessary: 7KH$SSOLFDQWVXEPLWWHGVHYHUDO
                     SXEOLVKHGVWXGLHVWKDWVXSSRUWHGXVHRIDUHSHDWPLVRSURVWROGRVHZKHQFRPSOHWH
                     XWHULQHH[SXOVLRQGLGQRWRFFXUDIWHUWKHLQLWLDOPLVRSURVWROGRVHIROORZLQJ
                     0LIHSUH[,QFOLQLFDOSUDFWLFHWKHXVXDOWUHDWPHQWIRULQFRPSOHWHH[SXOVLRQ
                      UHWDLQHGSURGXFWVRIFRQFHSWLRQ PD\LQFOXGHHLWKHUDUHSHDWGRVHRIPLVRSURVWRO
                     H[SHFWDQWPDQDJHPHQWRUDVXUJLFDOSURFHGXUH VXFWLRQDVSLUDWLRQRUDGLODWLRQ
                     DQGFXUHWWDJH 6WXGLHVWKDWVSHFLILFDOO\UHSRUWWKHVXFFHVVUDWHRIDUHSHDWGRVHRI
                     PLVRSURVWRODUH
              
              
                :HGLVLQJKH/DQG(OVDQGDEHVHH')OH[LEOHPLIHSULVWRQHDQGPLVRSURVWRODGPLQLVWUDWLRQLQWHUYDOIRU
              ILUVWWULPHVWHUPHGLFDOWHUPLQDWLRQ&RQWUDFHSWLRQ  GRL
              MFRQWUDFHSWLRQ(SXE2FW
              
                &UHLQLQ0')R[0&7HDO6&KHQ$6FKDII($0H\Q/$02'6WXG\7ULDO*URXS$UDQGRPL]HG
              FRPSDULVRQRIPLVRSURVWROKRXUVYHUVXVKRXUVDIWHUPLIHSULVWRQHIRUDERUWLRQ2EVWHW*\QHFRO
              
              
                5D\PRQG(* *ULPHV'$7KHFRPSDUDWLYHVDIHW\RIOHJDOLQGXFHGDERUWLRQDQGFKLOGELUWKLQWKH
              8QLWHG6WDWHV2EVWHW*\QHFRO


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                        x   :LQLNRIIHWDO ±VWXGLHGWKHSURSRVHGUHJLPHQWKURXJKGD\VJHVWDWLRQRI
                            WKHIHZZRPHQZKRUHFHLYHGDVHFRQGGRVHIRUDQLQFRPSOHWHDERUWLRQDW
                            IROORZXSWKHVXFFHVVUDWHZDVDWGD\VDQGDWGD\V
                        x   &KHQDQG&UHLQLQ ±DV\VWHPDWLFUHYLHZRIVWXGLHVDOOEXWRQHRIZKLFK
                            XVHGWKHSURSRVHGUHJLPHQXSWKURXJKGD\VVXFFHVVRIDVHFRQGGRVH
                            UDQJHGIURP
                        x   %RHUVPDHWDO ±LQFOXGHGSUHJQDQFLHVWKURXJKGD\VWUHDWHGZLWKWKH
                            SURSRVHGUHJLPHQILYHRIZRPHQWRRNDVHFRQGGRVHGXHWRDEVHQFHRI
                            EOHHGLQJKRXUVDIWHUILUVWGRVHWKHVXFFHVVUDWHZDV
                        x   /RXLHHWDO ±VWXGLHGWKHSURSRVHGUHJLPHQWRGD\VLQZRPHQ RI
                             ZKRWRRNDVHFRQGGRVHRIPLVRSURVWROWKHVXFFHVVUDWHZDV
                        x   &KRQJHWDO ±FRPSDUHGWKHSURSRVHGUHJLPHQWRDORZHUGRVHRI
                            PLVRSURVWROWKHVXFFHVVRIDVHFRQGGRVHRIPLVRSURVWROZDVRYHUDOOEXW
                            WKHQXPEHURIZRPHQLQHDFKGRVHDUPJHWWLQJDVHFRQGGRVHZDVQRW
                            VSHFLILHG
                        x   :LQLNRIIHWDO ±ZRPHQLQWKHSURSRVHGUHJLPHQWRRNDVHFRQGGRVHRI
                            PLVRSURVWROZLWKDVXFFHVVUDWHRI
                      
                      8VLQJWKHLQIRUPDWLRQIURPWKHDERYHVWXGLHVDQGRWKHUVXSSRUWLYHGDWDWKH
                      FOLQLFDOWHDPFRQFOXGHGWKDWWKHDYDLODEOHGDWDVXSSRUWWKHHIILFDF\RIDUHSHDW
                      GRVHRIPLVRSURVWROLIFRPSOHWHH[SXOVLRQKDVQRWRFFXUUHG7KHUHODWLYHO\KLJK
                      FRPSOHWHSUHJQDQF\WHUPLQDWLRQUDWHVLQGLFDWHWKDWWKLVRSWLRQLVOLNHO\WRUHGXFH
                      WKHQHHGIRUDVXUJLFDOLQWHUYHQWLRQ
                      
                    Requirements regarding follow-up care:&XUUHQWODEHOLQJVWDWHVWKDWZRPHQZLOO
                      UHWXUQWRWKHFOLQLFGD\VDIWHU0LIHSUH[DGPLQLVWUDWLRQIRUIROORZXS7KLV
                      SURYLVLRQZDVEDVHGRQWKHIROORZXSUHJLPHQLQWKH86SKDVHWULDOWKDW
                      VXSSRUWHGWKHLQLWLDODSSURYDOLQ$OWKRXJKWKH$SSOLFDQWVXEPLWWHGVHYHUDO
                      VWXGLHVWKDWHYDOXDWHGIOH[LELOLW\LQWKHWLPHRIIROORZXSWKHNH\SXEOLFDWLRQ
                      LGHQWLILHGE\WKHUHYLHZWHDPWKDWDGGUHVVHGWKLVLVVXHZDVDDUWLFOHE\

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                 :LQLNRII%']XED,*&KRQJ(HWDO([WHQGLQJRXWSDWLHQWPHGLFDODERUWLRQVHUYLFHVWKURXJKGD\V
              RIJHVWDWLRQDODJH2EVWHW*\QHFRO
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                 &UHLQLQ0')R[0&7HDO6&KHQ$6FKDII($0H\Q/$02'6WXG\7ULDO*URXS$UDQGRPL]HG
              FRPSDULVRQRIPLVRSURVWROKRXUVYHUVXVKRXUVDIWHUPLIHSULVWRQHIRUDERUWLRQ2EVWHW*\QHFRO
              
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                 %RHUVPD$$0H\ERRPGH-RQJ%.OHLYHUGD*0LIHSULVWRQHIROORZHGE\KRPHDGPLQLVWUDWLRQRI
              EXFFDOPLVRSURVWROIRUPHGLFDODERUWLRQXSWRGD\VRIDPHQRUUKRHDLQDJHQHUDOSUDFWLFHLQ&XUDFDR(XU
              -&RQWUDFHSW5HSURG+HDOWK&DUH
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                 /RXLH.67VHUHWHOL7&KRQJ($LO\HYD)5]D\HYD*:LQLNRII%$FFHSWDELOLW\DQGIHDVLELOLW\RI
              PLIHSULVWRQHPHGLFDODERUWLRQLQWKHHDUO\ILUVWWULPHVWHULQ$]HUEDLMDQ(XU-&RQWUDFHSW5HSURG+HDOWK
              &DUH  
              
                 &KRQJ(7VHUHWHOL71JX\HQ11:LQLNRII%$UDQGRPL]HGFRQWUROOHGWULDORIGLIIHUHQWEXFFDO
              PLVRSURVWROGRVHVLQPLIHSULVWRQHPHGLFDODERUWLRQ&RQWUDFHSWLRQ
              
                 :LQLNRII%']XED,*&UHLQLQ0'&URZGHQ:$*ROGEHUJ$%*RQ]DOHV-+RZH00RVNRZLW]-
              3ULQH/6KDQQRQ&67ZRGLVWLQFWRUDOURXWHVRIPLVRSURVWROLQPLIHSULVWRQHPHGLFDODERUWLRQD
              UDQGRPL]HGFRQWUROOHGWULDO2EVWHW*\QHFRO  
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              8. Safety

              7KHVDIHW\RIWKHSURSRVHGGRVLQJUHJLPHQIRU0LIHSUH[ZDVVXSSRUWHGE\WKHHYLGHQFH
              IURPVXEPLWWHGSXEOLVKHGOLWHUDWXUHDQGSRVWPDUNHWLQJH[SHULHQFH7KHIRFXVRIWKH
              VDIHW\DQDO\VLVZDVRQSXEOLVKHGVWXGLHVWKDWHYDOXDWHGWKHSURSRVHGGRVLQJUHJLPHQ
                0LIHSUH[PJIROORZHGE\PFJPLVRSURVWROEXFFDOO\KRXUVODWHU ZLWK
              FRPSDULVRQWRWKHNQRZQVDIHW\SURILOHRIWKHFXUUHQWO\DSSURYHGGRVLQJUHJLPHQ
              
              Exposure3HUWKH$SSOLFDQW¶VVXEPLVVLRQWKHFOLQLFDOUHYLHZFRQFOXGHGWKDWWKHUHKDYH
              EHHQDSSUR[LPDWHO\PLOOLRQXVHVRI0LIHSUH[E\86ZRPHQVLQFHWKHGUXJ¶V
              DSSURYDOLQ7KHFOLQLFDOUHYLHZWHDPHVWLPDWHGWKDWH[SRVXUHWRWKHSURSRVHG
              GRVLQJUHJLPHQIRUWKHLUVDIHW\DQDO\VLVZDVEDVHGRQDSSUR[LPDWHO\SDWLHQWV
                UHIHUWR7DEOHIRUDOLVWRIUHIHUHQFHVXVHGWRHYDOXDWHVDIHW\ 6XFKH[SRVXUHYROXPH
              LVVXIILFLHQWWRFKDUDFWHUL]HWKHVDIHW\SURILOHRIWKHSURSRVHGGRVLQJUHJLPHQDQGRWKHU
              SURSRVHGFKDQJHVLQWKLVHIILFDF\VXSSOHPHQW
              
              Deaths:'HDWKVZLWKPHGLFDODERUWLRQUDUHO\RFFXUDQGFDXVDOLW\FDQEHGLIILFXOWWR
              GHWHUPLQH0RVWRIWKHSXEOLFDWLRQVGLGQRWVSHFLILFDOO\UHSRUWDQ\GHDWKVZLWKPHGLFDO
              DERUWLRQZLWK0LIHSUH[$PRQJWKHVHYHQ86VWXGLHVVXEPLWWHGWRVXSSRUWWKHVDIHW\
              SURILOHRI0LIHSUH[DQGPLVRSURVWRORQO\RQH *URVVPDQHWDO  H[SOLFLWO\DGGUHVVHG
              GHDWKVDQGQRWHGWKDWWKHUHZHUHQRGHDWKVDPRQJVXEMHFWVHYDOXDWHGLQWKHVWXG\
              2QO\RQHREVHUYDWLRQDOVWXG\ *ROGVWRQHHWDO  IURP$XVWUDOLDFRQWDLQHGDUHSRUWRID
              GHDWKDIWHUDPLIHSULVWRQHDQGPLVRSURVWROGRVLQJUHJLPHQ,QWKLVUHWURVSHFWLYHUHYLHZRI
              SUHJQDQF\WHUPLQDWLRQVWKHDXWKRUVLGHQWLILHGRQHGHDWKIURPVHSVLV7KHDUWLFOH
              VWDWHGWKDWWKHGHDWKZDVLQDQLQGLYLGXDOZKRIDLOHGWRIROORZXSZLWKKHUKHDOWKFDUH
              SURYLGHUGHVSLWHVKRZLQJVLJQVRILOOQHVV%DVHGRQWKLVLQIRUPDWLRQGHDWKVLQDVVRFLDWLRQ
              ZLWKDERUWLRQDUHH[WUHPHO\UDUH
              
              'HDWKVUHSRUWHGIURPWKHSRVWPDUNHWLQJH[SHULHQFHRI0LIHSUH[DUHVXPPDUL]HGEHORZLQ
              WKH3RVWPDUNHWLQJ([SHULHQFHVHFWLRQ
              
              Nonfatal serious adverse events7KHFOLQLFDOUHYLHZWHDPLGHQWLILHGNH\QRQIDWDOVHULRXV
              DGYHUVHHYHQWV 6$(V DVVRFLDWHGZLWKWKHSURSRVHGGRVLQJUHJLPHQIRU0LIHSUH[7KHVH
              6$(VLQFOXGHKRVSLWDOL]DWLRQVHULRXVLQIHFWLRQEOHHGLQJUHTXLULQJWUDQVIXVLRQDQG
              HFWRSLFSUHJQDQF\6HFWLRQRIWKHFOLQLFDOUHYLHZGDWHG0DUFKSURYLGHVD
              GHWDLOHGGLVFXVVLRQRIUHSRUWHGUDWHVRIKRVSLWDOL]DWLRQVHULRXVLQIHFWLRQEOHHGLQJ
              UHTXLULQJWUDQVIXVLRQDQGHFWRSLFSUHJQDQF\7KHODWWHULVQRWDQDGYHUVHUHDFWLRQ
              EHFDXVHDQHFWRSLFSUHJQDQF\ZRXOGH[LVWSULRUWRWKH0LIHSUH[UHJLPHQLWUHSUHVHQWV
              LQVWHDGDIDLOXUHWRGLDJQRVHDQHFWRSLFSUHJQDQF\2YHUDOOUDWHVLGHQWLILHGE\WKHFOLQLFDO
              UHYLHZWHDPIURPWKHSXEOLVKHGOLWHUDWXUHDUHDVIROORZV
                   x +RVSLWDOL]DWLRQLQ86VWXGLHVRIRYHUZRPHQLQ
                        LQWHUQDWLRQDOVWXGLHVRIRYHUZRPHQ
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                 *URVVPDQ'*ULQGOD\.%XFKDFNHU7/DQH.%ODQFKDUG.(IIHFWLYHQHVVVDQGDFFHSWDELOLW\RI
              PHGLFDODERUWLRQSURYLGHGWKRUXJKWHOHPHGLFLQH2EVWHW*\QHFRO
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                 *ROGVWRQH30LFKHOVRQ-:LOOLDPVRQ((DUO\PHGLFDODERUWLRQXVLQJORZGRVHPLIHSULVWRQHIROORZHG
              E\EXFFDOPLVRSURVWRO$ODUJH$XVWUDOLDQREVHUYDWLRQDOVWXG\0HG-$XVWUDO


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                   x    6HULRXVLQIHFWLRQVHSVLVLQ86DQGLQWHUQDWLRQDOVWXGLHVRIRYHU
                        ZRPHQ
                   x    7UDQVIXVLRQLQ86VWXGLHVRIRYHUZRPHQLQ
                        LQWHUQDWLRQDOVWXGLHVRIRYHUZRPHQ
              
              $VWXG\E\8SDGK\D\HWDO UHSRUWHGDUDWHRIPDMRUFRPSOLFDWLRQV LQFOXGLQJ
              LQFRPSOHWHRUIDLOHGDERUWLRQKHPRUUKDJHLQIHFWLRQRUXWHULQHSHUIRUDWLRQWKDWUHTXLUHG
              KRVSLWDOL]DWLRQVXUJHU\RUWUDQVIXVLRQ IRUPHGLFDODERUWLRQV GRVLQJUHJLPHQ
              XQVSHFLILHG WKURXJKGD\VWKLVZDVDERXWGRXEOHWKHUDWHUHSRUWHGIRUILUVWWULPHVWHU
              DVSLUDWLRQDERUWLRQVDQGVWDWLVWLFDOO\VLJQLILFDQWO\KLJKHU+RZHYHUWKHVHUDWHVZHUH
              GULYHQE\KLJKHUUDWHVRILQFRPSOHWHIDLOHGDERUWLRQUDWHVRIKHPRUUKDJH  DQG
              LQIHFWLRQ  GLGQRWGLIIHUIURPWKRVHDVVRFLDWHGZLWKDVSLUDWLRQV
              
              2QO\RQHVXEPLWWHGVWXG\UHSRUWHGDQHFWRSLFSUHJQDQF\7KLVVWXG\ :LQLNRIIHWDO  
              UHSRUWHGRQHHFWRSLFDPRQJZRPHQ  
              
              Comment:7KHSURSRVHGGRVLQJUHJLPHQKDVEHHQVWXGLHGH[WHQVLYHO\LQWKHOLWHUDWXUH
              XVLQJ86DQGJOREDOVLWHV6HULRXVDGYHUVHHYHQWVLQFOXGLQJGHDWKVKRVSLWDOL]DWLRQ
              VHULRXVLQIHFWLRQVEOHHGLQJUHTXLULQJWUDQVIXVLRQDQGHFWRSLFSUHJQDQF\DUHUDUHO\
              UHSRUWHG7KHUDWHVRIWKHVHVHULRXVDGYHUVHHYHQWVDUHZHOOEHORZDQGGRQRWVXJJHVW
              DVDIHW\SURILOHGLIIHUHQWIURPWKHRULJLQDODSSURYHG0LIHSUH[GRVLQJUHJLPHQ$OWKRXJK
              WKHUHLVOHVVVHULRXVDGYHUVHHYHQWGDWDRQZRPHQZKRUHFHLYHG0LIHSUH[DQG
              PLVRSURVWROEHWZHHQGD\VRIJHVWDWLRQWKHGDWDIURPD86VWXG\RIZRPHQ
                :LQLNRIIHWDO LQWKDWJHVWDWLRQDODJHLVUHDVVXULQJWKDWWKHUDWHVRIWKHVHVHULRXV
              DGYHUVHHYHQWVDUHQRWFOLQLFDOO\GLIIHUHQWIURPWKDWRIRWKHUJHVWDWLRQDODJHUDQJHV
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              ,QVXPPDU\EDVHGRQWKHSXEOLVKHGOLWHUDWXUHQRQIDWDOVHULRXVDGYHUVHHYHQWVRFFXUZLWK
              0LIHSUH[DQGPLVRSURVWROXVHZLWKUDWHVJHQHUDOO\OHVVWKDQ,QFUHDVHGJHVWDWLRQDO
              DJH ZHHNV ZDVQRWDVVRFLDWHGZLWKDQLQFUHDVHGLQFLGHQFHRIQRQIDWDO6$(V
              2WKHUVXEPLVVLRQVSHFLILFVDIHW\LVVXHVWKDWZHUHHYDOXDWHGLQFOXGLQJXWHULQHUXSWXUHDQG
              DQJLRHGHPDDQDSK\OD[LVDUHGLVFXVVHGLQWKH3RVWPDUNHWLQJ([SHULHQFHVHFWLRQEHORZ

              Loss to follow-up: 7KHVWXGLHVLQFOXGHGLQWKLVVDIHW\UHYLHZUHYHDOHGDZLGHUDQJHRI
              ORVVWRIROORZXSIURPORVVWRIROORZXSLQWKHVWXG\ZLWKWHOHSKRQHIROORZXS
               1JRFHWDO  WRLQWKH*URVVPDQHWDO VWXG\XVLQJWHOHPHGLFLQHWRGHOLYHUPHGLFDO


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              GHSDUWPHQWYLVLWVDQGFRPSOLFDWLRQVDIWHUDERUWLRQ2EVWHW*\QHFRO  
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                 :LQLNRII%']XED,*&UHLQLQ0'&URZGHQ:$*ROGEHUJ$%*RQ]DOHV-+RZH00RVNRZLW]-
              3ULQH/6KDQQRQ&67ZRGLVWLQFWRUDOURXWHVRIPLVRSURVWROLQPLIHSULVWRQHPHGLFDODERUWLRQD
              UDQGRPL]HGFRQWUROOHGWULDO2EVWHW*\QHFRO  
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                 :LQLNRII%']XED,*&KRQJ(HWDO([WHQGLQJRXWSDWLHQWPHGLFDODERUWLRQVHUYLFHVWKURXJKGD\VRI
              JHVWDWLRQDODJH2EVWHW*\QHFRO
              
                 1JRF171HWDO$FFHSWDELOLW\DQGIHDVLELOLW\RISKRQHIROORZXSDIWHUHDUO\PHGLFDODERUWLRQLQ
              9LHWQDP$UDQGRPL]HGFRQWUROOHGWULDO2EVWHW*\QHFRO
              
                 *URVVPDQ'*ULQGOD\.%XFKDFNHU7/DQH.%ODQFKDUG.(IIHFWLYHQHVVVDQGDFFHSWDELOLW\RI
              PHGLFDODERUWLRQSURYLGHGWKRUXJKWHOHPHGLFLQH2EVWHW*\QHFRO


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              DERUWLRQVHUYLFHV

              Comment%DVHGRQWKHVHGDWDUHYLHZHGE\WKHFOLQLFDOUHYLHZWHDPWKHUHLVQROLWHUDWXUH
              WKDWVXJJHVWVWKDWIROORZXSPRGDOLW\DOWHUVVDIHW\7KHUHIRUHODEHOLQJZLOOQRWEH
              GLUHFWLYHUHJDUGLQJIROORZXSWKDWZLOOEHDGHFLVLRQOHIWWRWKHSDWLHQWDQGSURYLGHU
              
              Common adverse events: 7KHFOLQLFDOUHYLHZWHDPHYDOXDWHGFRPPRQDGYHUVHUHDFWLRQ
              GDWDDQGFRPSDUHG86DQGJOREDOVWXG\ORFDWLRQV7KHFRPSDULVRQUHYHDOHGWKDWWKHUH
              ZHUHGLIIHUHQFHVLQWKHIUHTXHQF\RIFRPPRQDGYHUVHUHDFWLRQVZLWKWKHUHSRUWLQJUDWHV
              FRQVLGHUDEO\KLJKHUDPRQJWKH86VWXGLHV7KHUHLVQRUHDVRQWRDQWLFLSDWHUHJLRQDO
              GLIIHUHQFHVLQWKHVDIHW\SURILOHIRUWKHVDPHWUHDWPHQWUHJLPHQVRWKHVHGLIIHUHQFHV
              OLNHO\UHIOHFWORZHUDVFHUWDLQPHQWRUVXEMHFWUHSRUWLQJRIDGYHUVHUHDFWLRQVLQQRQ86
              VWXGLHV5HJDUGOHVVLQFOXVLRQRIWKLVQRQ86GDWDLQODEHOLQJZRXOGQRWEHDSSURSULDWH
              DVLWLVXQOLNHO\WREHLQIRUPDWLYHWRWKH86SRSXODWLRQRIXVHUV7KHGDWDWREHUHSRUWHG
              LQODEHOLQJLVRXWOLQHGLQ7DEOHEHORZ
              
              Table 1: &RPPRQ$GYHUVH(YHQWV  LQ8.S. Studies of the Proposed Dosing Regimen
              Adverse             # U.S.         Number of                   Range of                Upper Gestational Age of
              Reaction            studies        Evaluable Women             frequency (%)           Studies Reporting Outcome
              Nausea                                                                  GD\V
              Weakness                                                                  GD\V
              Fever/chills                                                                 GD\V
              Vomiting                                                                GD\V
              Headache                                                                  GD\V
              Diarrhea                                                                GD\V
              Dizziness                                                                 GD\V
              6RXUFH'DWDIURP0LGGOHWRQ :LQLNRII DQG:LQLNRII DVRXWOLQHGLQ7DEOHRIWKH&'7/UHYLHZGDWHG0DUFK
              
              
              2QHFRQFHUQLQJDGYHUVHHYHQWLVVHYHUHYDJLQDOEOHHGLQJ6HYHUHYDJLQDOEOHHGLQJFDQ
              UHVXOWLQLQWHUYHQWLRQVVXFKDVKRVSLWDOL]DWLRQDQGWUDQVIXVLRQDQGPD\EHDVVRFLDWHGZLWK
              LQIHFWLRQ7KHRYHUDOOUDWHRIEOHHGLQJDFURVVSXEOLFDWLRQVYDULHGEHWZHHQDQG
              7ZRSXEOLFDWLRQV 6DQKXH]D6PLWKHWDO DQG*DWWHUHWDO  HYDOXDWHGFOLQLFDOO\
              VLJQLILFDQWEOHHGLQJE\JHVWDWLRQDODJH$OWKRXJKWKHSXEOLFDWLRQVUHSRUWHGVOLJKWO\
              GLIIHUHQWUDWHVWKHUHZDVQRWUHQGRILQFUHDVHGEOHHGLQJUHTXLULQJLQWHUYHQWLRQZLWK
              0LIHSUH[DQGPLVRSURVWROXVHZLWKLQFUHDVLQJJHVWDWLRQDODJH
              
              
              
                 0LGGOHWRQ7HWDO5DQGRPL]HGWULDORIPLIHSULVWRQHDQGEXFFDORUYDJLQDOPLVRSURVWROIRUDERUWLRQ
              WKURXJKGD\VRIODVWPHQVWUXDOSHULRG&RQWUDFHSWLRQ
              
                 :LQLNRII%']XED,*&KRQJ(HWDO([WHQGLQJRXWSDWLHQWPHGLFDODERUWLRQVHUYLFHVWKURXJKGD\V
              RIJHVWDWLRQDODJH2EVWHW*\QHFRO
              
                 :LQLNRII%']XED,*&UHLQLQ0'&URZGHQ:$*ROGEHUJ$%*RQ]DOHV-+RZH00RVNRZLW]-
              3ULQH/6KDQQRQ&67ZRGLVWLQFWRUDOURXWHVRIPLVRSURVWROLQPLIHSULVWRQHPHGLFDODERUWLRQD
              UDQGRPL]HGFRQWUROOHGWULDO2EVWHW*\QHFRO  
              
                 6DQKXH]D6PLWK33HQD0']XED,*HWDO6DIHW\HIILFDF\DQGDFFHSWDELOLW\RIRXWSDWLHQWPLIHSULVWRQH
              PLVRSURVWROPHGLFDODERUWLRQWKURXJKGD\VVLQFHODVWPHQVWUXDOSHULRGLQSXEOLFVHFWRUIDFLOLWLHVLQ
              0H[LFR&LW\5HSURG+HDOWK0DWWHUV
              
                 *DWWHU0&OHODQG.1XFDWROD'/(IILFDF\DQGVDIHW\RIPHGLFDODERUWLRQXVLQJPLIHSULVWRQHDQGEXFFDO
              PLVRSURVWROWKURXJKGD\V&RQWUDFHSWLRQ


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                          Alliance.App. 137                       EX. 32 pg. 015
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                   7RHYDOXDWHHDFKRIWKHVHFKDQJHVWKHUHYLHZHUVHYDOXDWHGWKHDGYHUVHHYHQW
                   LQIRUPDWLRQUHJDUGLQJ
                   x Changing the timing interval between Mifeprex and misoprostol and change in
                       the gestational age to 70 days: 6XSSRUWIRUWKHKRXULQWHUYDODQGXVHXS
                       WKURXJKGD\VZDVSULPDULO\EDVHGRQDODUJHV\VWHPDWLFUHYLHZE\6KDZHW
                       DO 7KLVUHYLHZHYDOXDWHGVWXGLHVORRNLQJDWGLIIHUHQWIROORZXSPRGDOLWLHVDQG
                       GHPRQVWUDWHGWKDWWKHUHDUHDYDULHW\RIDFFHSWDEOHDOWHUQDWLYHVWRLQFOLQLFIROORZ
                       XSWKDWFDQLGHQWLI\FDVHVLQZKLFKWKHUHLVQHHGIRUDGGLWLRQDOLQWHUYHQWLRQ,Q
                       DGGLWLRQWKHV\VWHPDWLFUHYLHZGLGQRWLGHQWLI\DQ\VLJQLILFDQWGLIIHUHQFHLQ
                       DGYHUVHHYHQWVZLWKGLIIHUHQWWLPHLQWHUYDOV%DVHGRQWKHVHILQGLQJVODEHOLQJ
                       ZLOOQRWEHGLUHFWLYHUHJDUGLQJVSHFLILFGHWDLOVRIKRZIROORZXSVKRXOGEH
                       SHUIRUPHGWKLVZLOOEHDGHFLVLRQEHWZHHQWKHSDWLHQWDQGKHUKHDOWKFDUHSURYLGHU

                   x    Home administration of misoprostol: 7KH$SSOLFDQWVXSSOLHGVHYHUDOSXEOLVKHG
                        VWXGLHVWKDWVXSSRUWHGWKLVFKDQJHLQFOXGLQJ*DWWHUHWDO DQG,UHODQGHWDO 
                        7KHVHVWXGLHVUHSRUWHGRQODUJHQXPEHUVRIZRPHQLQWKH86ZKRWRRN
                        PLVRSURVWRODWKRPH7KHDXWKRUVVKRZHGWKDWKRPHDGPLQLVWUDWLRQRI
                        PLVRSURVWRODVSDUWRIWKHSURSRVHGUHJLPHQLVDVVRFLDWHGZLWKH[FHHGLQJO\ORZ
                        UDWHVRIVHULRXVDGYHUVHHYHQWVDQGZLWKUDWHVRIFRPPRQDGYHUVHHYHQWV
                        FRPSDUDEOHWRWKRVHLQWKHVWXGLHVRIFOLQLFDGPLQLVWUDWLRQRIPLVRSURVWROWKDW
                        VXSSRUWHGWKHLQLWLDODSSURYDOLQ*LYHQWKDWLQIRUPDWLRQLVDYDLODEOHRQ
                        DSSUR[LPDWHO\ZRPHQIURPWKHSXEOLVKHGOLWHUDWXUHKDOIRIZKLFK
                        LQFRUSRUDWHGKRPHXVHRIPLVRSURVWROWKHUHLVQRFOLQLFDOUHDVRQWRUHVWULFWWKH
                        ORFDWLRQLQZKLFKPLVRSURVWROPD\EHWDNHQ*LYHQWKHIDFWWKDWWKHRQVHWRI
                        FUDPSLQJDQGEOHHGLQJRFFXUVUDSLGO\ LHJHQHUDOO\ZLWKLQKRXUV DIWHU
                        PLVRSURVWROGRVLQJDOORZLQJGRVLQJDWKRPHLQFUHDVHVWKHFKDQFHWKDWWKHZRPDQ
                        ZLOOEHLQDQDSSURSULDWHDQGVDIHORFDWLRQZKHQWKHSURFHVVEHJLQV
                        
                   x    Use of a repeat dose of misoprostol:6DIHW\UHSRUWLQJIURPVWXGLHVWKDWHYDOXDWHG
                        DUHSHDWGRVHRIPLVRSURVWROGLGQRWVSHFLILFDOO\DVVHVVWKHVXEVHWRIZRPHQZKR
                        UHFHLYHGDVHFRQGGRVHEXWQRXQH[SHFWHGILQGLQJVZHUHLGHQWLILHG2QH
                        UDQGRPL]HGFRQWUROOHGWULDO &R\DMLHWDO  FRQGXFWHGLQZRPHQVHHNLQJ
                        PHGLFDODERUWLRQLQ,QGLDORRNHGDWDVLQJOHPLVRSURVWROGRVHDVFRPSDUHGWRWZR
                        PLVRSURVWROGRVHV$OWKRXJKWKHUHZDVQRGLIIHUHQFHLQWKHFRPSOHWHSUHJQDQF\
                        WHUPLQDWLRQUDWHLQZRPHQZKRUHFHLYHGDVHFRQGPLVRSURVWROGRVHFRPSDUHGWR
                        WKRVHZKRGLGQRWWKHUHSHDWPLVRSURVWROGRVHUHGXFHGWKHQHHGIRUVXUJLFDO
                        LQWHUYHQWLRQ7KLVVWXG\ZDVUHDVVXULQJLQWKDWWKHUHZDVQRVLJQLILFDQWGLIIHUHQFH
                        LQWKHDGYHUVHHYHQWVREVHUYHG²VLPLODUSHUFHQWDJHVRIZRPHQH[SHULHQFHG

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                 6KDZ.$7RSS1-6KDZ-*%OXPHQWKDO3%0LIHSULVWRQHPLVRSURVWROGRVLQJLQWHUYDODQGHIIHFWRQ
              LQGXFWLRQDERUWLRQWLPHV2EVWHW*\QHFRO  
              
                 *DWWHU0&OHODQG.1XFDWROD'/(IILFDF\DQGVDIHW\RIPHGLFDODERUWLRQXVLQJPLIHSULVWRQHDQG
              EXFFDOPLVRSURVWROWKURXJKGD\V&RQWUDFHSWLRQ
              
                 ,UHODQG/'*DWWHU0&KHQ$<0HGLFDOFRPSDUHGZLWKVXUJLFDODERUWLRQIRUHIIHFWLYHSUHJQDQF\
              WHUPLQDWLRQLQWKHILUVWWULPHVWHU2EVWHW*\QHFRO
              
                 &R\DML..ULVKQD8$PEDUGHNDU6%UDFNHQ+5DRWH90DQGOHNDU$:LQLNRII%$UHWZRGRVHVRI
              PLVRSURVWRODIWHUPLIHSULVWRQHIRUHDUO\DERUWLRQEHWWHUWKDQRQH"%-2*


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                        FUDPSLQJ LQWKHVLQJOHGRVHJURXSLQWKHUHSHDWGRVHJURXS QDXVHD
                          ERWKJURXSV YRPLWLQJ ERWKJURXSV DQGGLDUUKHD LQWKHVLQJOHGRVH
                        JURXSYHUVXVLQWKHUHSHDWGRVHJURXS $VXSSRUWLYHV\VWHPDWLFUHYLHZE\
                        *DOORHWDO DOVRSURYLGHGVDIHW\LQIRUPDWLRQRQVXEMHFWVZKRUHFHLYHGUHSHDW
                        PLVRSURVWRO,QWKLVUHYLHZWKHRQO\VLGHHIIHFWVGLVFXVVHGLQWKHWULDOVZHUH
                        GLDUUKHDZKLFKZDVPRUHFRPPRQRQWKRVHJURXSVUHFHLYLQJPLVRSURVWRORUDOO\
                        WKDQLQWKRVHUHFHLYLQJLWH[FOXVLYHO\YDJLQDOO\ YHUVXV 5DVKZDV
                        UHSRUWHG%DVHGRQWKHVHILQGLQJVODEHOLQJZLOOEHFKDQJHGEHFDXVHWKH
                        PLVRSURVWROGRVHGRHVQRWQHHGWREHUHVWULFWHGWRLQFOLQLFDGPLQLVWUDWLRQWR
                        DVVXUHVDIHSUHJQDQF\WHUPLQDWLRQXVLQJWKHSURSRVHGGRVLQJUHJLPHQ*LYHQWKH
                        RQVHWRIEOHHGLQJDQGFUDPSLQJDIWHUPLVRSURVWRODOORZLQJKRPHDGPLQLVWUDWLRQ
                        LQFUHDVHVWKHOLNHOLKRRGWKDWDZRPDQZLOOEHLQDQDSSURSULDWHDQGVDIHORFDWLRQ
                        ZKHQWKHSUHJQDQF\WHUPLQDWLRQSURFHVVEHJLQV
                        
                   x    Change in the follow-up timeframe and method of follow-up: 7KH$SSOLFDQW
                        VXEPLWWHGVHYHUDODUWLFOHVWKDWGHVFULEHGGLIIHUHQWPHWKRGRORJLHVLQIROORZXS
                        LQFOXGLQJSKRQHFDOOVDQGVWDQGDUGL]HGLQVWUXFWLRQV7KHFOLQLFDOUHYLHZHUV
                        HYDOXDWHGDVWXG\LQ6FRWODQGE\&DPHURQHWDO WKDWHYDOXDWHGVHOIDVVHVVPHQWDV
                        FRPSDUHGWRVWDQGDUGIROORZXSPHWKRGRORJLHV FOLQLFYLVLWRUSKRQHFDOO 0RVW
                        RIWKHZRPHQFKRVHVHOIDVVHVVPHQWRYHUDQLQFOLQLFYLVLWRUSKRQHFDOODQGWKHUH
                        ZHUHQRVLJQLILFDQWGLIIHUHQFHVLQDGYHUVHRXWFRPHVEHWZHHQZRPHQZKR
                        XQGHUZHQWVHOIDVVHVVPHQWRIKHDOWKFRPSDUHGWRWKRVHZKRKDGDFOLQLFYLVLWRU
                        SKRQHFDOO$PRQJZRPHQZLWKDQRQJRLQJSUHJQDQF\DIWHU0LIHSUH[DQG
                        PLVRSURVWROWKHPDMRULW\VHOILGHQWLILHGDQGSUHVHQWHGZLWKLQWZRZHHNVIRUFDUH
                        %DVHGRQWKLVLQIRUPDWLRQDQGWKHRWKHUGDWDIURPWKH5D\PRQGV\VWHPDWLF
                        DUWLFOH WKDWGLGQRWLGHQWLI\DGLIIHUHQFHLQIDLOXUHUDWHIRUHDUOLHU OHVVWKDQRQH
                        ZHHN DVFRPSDUHGWRRQHZHHNRUJUHDWHURIIROORZXSVXIILFLHQWVXSSRUWZDV
                        SURYLGHGWRXVHDEURDGHQHGZLQGRZRIWRGD\VIRUIROORZXS7KLVUHYLVHG
                        IROORZXSWLPHIUDPHZLOOEHLQFOXGHGLQODEHOLQJ
                        
                   x    Allowing providers other than physicians to provide Mifeprex7KHFXUUHQW
                        3UHVFULEHU¶V$JUHHPHQWLQWKH5(06VSHFLILHVWKDW³«0LIHSUH[PXVWEH
                        SURYLGHGE\RUXQGHUWKHVXSHUYLVLRQRIDSK\VLFLDQZKRPHHWVWKHIROORZLQJ
                        TXDOLILFDWLRQV«´,QDGGLWLRQFXUUHQWODEHOLQJVWDWHVWKDW0LIHSUH[ZLOOEH
                        VXSSOLHGRQO\WROLFHQVHGSK\VLFLDQVZKRVLJQDQGUHWXUQD3UHVFULEHU¶V
                        $JUHHPHQW+RZHYHUODEHOLQJVWDWHVWKDWRWKHUKHDOWKFDUHSURYLGHUVDFWLQJXQGHU
                        WKHVXSHUYLVLRQRIDTXDOLILHGSK\VLFLDQPD\DOVRSURYLGH0LIHSUH[WRSDWLHQWV
                        6HYHUDOSXEOLVKHGVWXGLHVVXEPLWWHGE\WKH$SSOLFDQWLQGLFDWHWKDWKHDOWKFDUH
                        SURYLGHUVVXFKDVQXUVHSUDFWLWLRQHUVQXUVHPLGZLYHVDQGSK\VLFLDQDVVLVWDQWVDUH


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                 *DOOR0)&DKLOO6&DVWHOPDQ/0LWFKHOO(0+$V\VWHPDWLFUHYLHZRIPRUHWKDQRQHGRVHRI
              PLVRSURVWRODIWHUPLIHSULVWRQHIRUDERUWLRQXSWRZHHNVJHVWDWLRQ&RQWUDFHSWLRQ
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                 &DPHURQ67*ODVLHU$-RKQVWRQH$'HZDUW+&DPSEHOO$&DQZRPHQGHWHUPLQHWKHVXFFHVVRIHDUO\
              PHGLFDOWHUPLQDWLRQRISUHJQDQF\WKHPVHOYHV"&RQWUDFHSWLRQ
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                 5D\PRQG(* *ULPHV'$7KHFRPSDUDWLYHVDIHW\RIOHJDOLQGXFHGDERUWLRQDQGFKLOGELUWKLQWKH
              8QLWHG6WDWHV2EVWHW*\QHFRO


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Reference ID: 3909594                            Alliance.App. 139                                         EX. 32 pg. 017
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                        FXUUHQWO\SURYLGLQJDERUWLRQVHUYLFHV2QHRIWKHVHVWXGLHV .RSS.DOOQHUHWDO  
                        ZDVDUDQGRPL]HGFRQWUROOHGWULDORIZRPHQLQ6ZHGHQZKRZHUH
                        UDQGRPL]HGWRUHFHLYHPHGLFDODERUWLRQFDUHIURPWZRQXUVHPLGZLYHV
                        H[SHULHQFHGLQPHGLFDOWHUPLQDWLRQVDQGWUDLQHGLQHDUO\SUHJQDQF\XOWUDVRXQG
                        YHUVXVDJURXSRISK\VLFLDQVZLWKYDU\LQJWUDLQLQJDQGH[SHULHQFH6XFFHVV
                        UDWHVZHUHUHJDUGOHVVRIJHVWDWLRQDODJH7KHQXUVHPLGZLIHJURXSKDGIHZ
                        FRPSOLFDWLRQVWKRXJKWKLVZDVQRWVWDWLVWLFDOO\VLJQLILFDQW IRUQXUVH
                        PLGZLYHVYHUVXVIRUGRFWRUVS  1RVHULRXVFRPSOLFDWLRQVZHUH
                        UHSRUWHGDQGQREORRGWUDQVIXVLRQVZHUHDGPLQLVWHUHGLQWKHVWXG\%DVHGRQWKLV
                        DQGRWKHUVXSSRUWLYHVWXGLHVWKHLQIRUPDWLRQVXSSRUWVWKHHIILFDF\DQGVDIHW\RI
                        DOORZLQJKHDOWKFDUHSURYLGHUVRWKHUWKDQSK\VLFLDQVFDQHIIHFWLYHO\DQGVDIHO\
                        SURYLGHDERUWLRQVHUYLFHVSURYLGHGWKDWWKH\PHHWWKHUHTXLUHPHQWVIRU
                        FHUWLILFDWLRQGHVFULEHGLQWKH5(067KHFOLQLFDOWHDPDOVRIHOWWKDWWKHWHUP
                        ³KHDOWKFDUHSURYLGHUZKRSUHVFULEHV´ZRXOGEHWKHDSSURSULDWHWHUPLQRORJ\DV
                        SUHVFULELQJDELOLW\LVDFULWLFDOIDFWRULQGLVSHQVLQJ0LIHSUH[
                                                                                                          
              7KHFOLQLFDOUHYLHZWHDPFRQFOXGHGWKDWWKHHYLGHQFHGHPRQVWUDWHGDFFHSWDEOHVDIHW\IRU
              HDFKRIWKHDERYHSURSRVHGFKDQJHVDQG,FRQFXUZLWKWKHLUFRQFOXVLRQ7KHSURSRVHG
              GRVLQJUHJLPHQKDVDVLPLODUVDIHW\SURILOHDVWKHRULJLQDOUHJLPHQDSSURYHGLQ
              $GYHUVHRXWFRPHVRILQWHUHVWVXFKDVGHDWKVVHULRXVLQIHFWLRQWUDQVIXVLRQVHFWRSLF
              SUHJQDQFLHVDQGXWHULQHUXSWXUHUHPDLQUDUHDQGDUHQRWQHFHVVDULO\DWWULEXWDEOHWR
              0LIHSUH[XVH2YHUDOOWKHUDWHRIGHDWKVDQGQRQIDWDOVHULRXVDGYHUVHHYHQWVDUH
              DFFHSWDEO\ORZDQGGDWDIRUWKHSURSRVHGUHJLPHQGRQRWVXJJHVWDVDIHW\SURILOHWKDW
              GHYLDWHVIURPWKDWRIWKHRULJLQDOO\DSSURYHGUHJLPHQ1RDVVRFLDWLRQEHWZHHQDGYHUVH
              RXWFRPHVDQGLQFUHDVLQJJHVWDWLRQDODJHZDVLGHQWLILHG)LQDOO\WKHDYDLODEOHLQIRUPDWLRQ
              VXSSRUWVWKHVDIHW\RIWKHRWKHUSURSRVHGFKDQJHVLQFOXGLQJLQFUHDVLQJWKHIOH[LELOLW\RI
              WKHWLPHLQWHUYDOEHWZHHQ0LIHSUH[DQGPLVRSURVWRODWKRPHXVHRIPLVRSURVWROXVHRID
              UHSHDWGRVHRIPLVRSURVWROFKDQJHLQWKHIROORZXSWLPHIUDPHDQGDOORZLQJKHDOWKFDUH
              SURYLGHUVRWKHUWKDQSK\VLFLDQVWRSUHVFULEHDQGGLVSHQVH0LIHSUH[ZHUHDFFHSWDEOH
              
              9. Advisory Committee Meeting

              0LIHSUH[LVQRWDQHZPROHFXODUHQWLW\UHTXLULQJGLVFXVVLRQEHIRUHDQDGYLVRU\
              FRPPLWWHH,QDGGLWLRQDQDGYLVRU\FRPPLWWHHZDVQRWQHFHVVDU\DVWKHDSSOLFDWLRQGLG
              QRWUDLVHFRPSOH[VFLHQWLILFRURWKHULVVXHVWKDWZRXOGZDUUDQWKROGLQJDQ$&EHIRUH
              DSSURYDO

              10. Pediatrics

              7KLVHIILFDF\VXSSOHPHQWWULJJHUHGUHTXLUHPHQWVXQGHUWKH3HGLDWULF5HVHDUFK(TXLW\$FW
               35($ 7KH$JHQF\JUDQWHGDSDUWLDO35($ZDLYHUIRUSUHPHQDUFKHDOIHPDOHVDJHV
              ELUWKWR\HDUVEHFDXVHLWZRXOGEHLPSRVVLEOHWRFRQGXFWVWXGLHVLQWKLVSHGLDWULF
              SRSXODWLRQDVSUHJQDQF\GRHVQRWH[LVWLQSUHPHQDUFKHDOIHPDOHV
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              
               .RSS.DOOQHU+)LDOD&6WHSKDQVVRQ2*HP]HOO'DQLHOVVRQ.+RPHVHOIDGPLQLVWUDWLRQRIYDJLQDO
              PLVRSURVWROIRUPHGLFDODERUWLRQDWGD\VFRPSDUHGZLWKJHVWDWLRQRIEHORZGD\V+XPDQ5HSURG
                


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              
              7KH$SSOLFDQWIXOILOOHGWKHUHPDLQLQJ35($UHTXLUHPHQWLQSRVWPHQDUFKHDOIHPDOHVE\
              VXEPLWWLQJSXEOLVKHGVWXGLHVRI0LIHSUH[IRUSUHJQDQF\WHUPLQDWLRQLQSRVWPHQDUFKHDO
              IHPDOHVOHVVWKDQ\HDUVROG(IILFDF\DQGVDIHW\LQIRUPDWLRQLQWKHVHDGROHVFHQWVZDV
              EDVHGRQD86VWXG\LQSRVWPHQDUFKHDODGROHVFHQWV *DWWHUHWDO  2IWKH
              DGROHVFHQWVRIWKHVHDGROHVFHQWVZHUHXQGHUVHH7DEOHEHORZ
              
              Table 2: Age and Number of Adolescents Undergoing Medical Abortion (Gatter et al 42)
                   $JHRI6XEMHFW        1XPEHURI6XEMHFWV
                                             HYDOXDWHG
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                                               
                                               
                                              
                                              
                                             
              6RXUFH5HIHUWR7DEOHRIWKH0HGLFDO2IILFHU¶VUHYLHZGDWHG0DUFK
              
              7KH*DWWHUHWDO VWXG\UHSRUWHGWKDWSRVWPHQDUFKDOIHPDOHVOHVVWKDQ\HDUVROGKDGD
              SUHJQDQF\WHUPLQDWLRQUDWHDVFRPSDUHGWRIHPDOHVDJHGZKRKDGDUDWHRI
              7KLVDUWLFOHUHSRUWHGWKDWORVVWRIROORZXSZDVVOLJKWO\KLJKHULQWKRVHOHVVWKDQ
              \HDUVROGKRZHYHUDJHGLGQRWDGYHUVHO\LPSDFWHIILFDF\RXWFRPHV
              
              2QHLVVXHZDVZKHWKHUDGROHVFHQWVZRXOGFRPSO\ZLWKDWKRPHXVHRIPLVRSURVWRO7KH
              *DWWHU HWDOVWXG\LQFRUSRUDWHGDWKRPHXVHRIPLVRSURVWROLQWRWKH0LIHSUH[GRVH
              UHJLPHQJLYHQWRDOOIHPDOHVLQFOXGLQJSRVWPHQDUFKDOIHPDOHVOHVVWKDQ\HDUVROG
              7KHRYHUDOOHIILFDF\LQDGROHVFHQWVZDVVLPLODUWRWKDWRIDOOROGHUZRPHQ7KLV
              LQIRUPDWLRQVXSSRUWVDWKRPHDGPLQLVWUDWLRQRIPLVRSURVWROLQSRVWPHQDUFKDOIHPDOHV
              XQGHU
              
              7ZRRWKHUSXEOLVKHGVWXGLHVSURYLGHGDGGLWLRQDOHIILFDF\RQ0LIHSUH[XVHE\DGROHVFHQWV
              IRUSUHJQDQF\WHUPLQDWLRQ
                   x 3KHOSVHWDO HYDOXDWHGGDWDIURPDGROHVFHQWVDJHGWRDWGD\V
                       JHVWDWLRQXVLQJ0LIHSUH[PJIROORZHGKRXUVODWHUE\PLVRSURVWRO
                       PFJYDJLQDOO\,QWKLVVWXG\RIVXEMHFWVKDGDFRPSOHWHSUHJQDQF\
                       WHUPLQDWLRQZLWKILYHQRWUHTXLULQJPLVRSURVWRO
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                 *DWWHU0&OHODQG.1XFDWROD'/(IILFDF\DQGVDIHW\RIPHGLFDODERUWLRQXVLQJPLIHSULVWRQHDQGEXFFDO
              PLVRSURVWROWKURXJKGD\V&RQWUDFHSWLRQ
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                 *DWWHU0&OHODQG.1XFDWROD'/(IILFDF\DQGVDIHW\RIPHGLFDODERUWLRQXVLQJPLIHSULVWRQHDQGEXFFDO
              PLVRSURVWROWKURXJKGD\V&RQWUDFHSWLRQ
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                 *DWWHU0&OHODQG.1XFDWROD'/(IILFDF\DQGVDIHW\RIPHGLFDODERUWLRQXVLQJPLIHSULVWRQHDQGEXFFDO
              PLVRSURVWROWKURXJKGD\V&RQWUDFHSWLRQ
              
                 3KHOSV5+HWDO0LIHSULVWRQHDERUWLRQLQPLQRUV&RQWUDFHSWLRQ


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                          Alliance.App. 142                       EX. 32 pg. 020
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                          Alliance.App. 143                       EX. 32 pg. 021
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                          Alliance.App. 144                       EX. 32 pg. 022
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                          Alliance.App. 145                       EX. 32 pg. 023
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                    (b) (6)
              7KH          FRQFXUUHGZLWKXVHRIWKHWHUP³KHDOWKFDUHSURYLGHUVZKRSUHVFULEH´7R
              VXSSRUWDFKDQJHLQWKH5(06WKDWZRXOGDOORZTXDOLILHGKHDOWKFDUHSURYLGHUVRWKHUWKDQ
              SK\VLFLDQVWRSUHVFULEH0LIHSUH[WKURXJKWKH0LIHSUH[5(06SURJUDPWKH$SSOLFDQW
              SURYLGHGLQIRUPDWLRQIURPRYHUZRPHQLQUDQGRPL]HGFRQWUROOHGWULDOVDQG
              ZRPHQLQSURVSHFWLYHFRKRUWVWXGLHVFRPSDULQJPHGLFDODERUWLRQFDUHE\SK\VLFLDQV
              YHUVXVRWKHUSURYLGHUV QXUVHVRUQXUVHPLGZLYHV 7KHVHVWXGLHVZHUHFRQGXFWHGLQD
              YDULHW\RIVHWWLQJV LQWHUQDWLRQDOXUEDQUXUDODQGORZUHVRXUFH 1RGLIIHUHQFHVLQ
              VHULRXVDGYHUVHHYHQWVRQJRLQJSUHJQDQF\RULQFRPSOHWHDERUWLRQZHUHLGHQWLILHG
              EHWZHHQWKHJURXSV*LYHQWKDWSURYLGHUVRWKHUWKDQSK\VLFLDQVDUHSURYLGLQJIDPLO\
              SODQQLQJDQGDERUWLRQFDUHXQGHUVXSHUYLVLRQDQGWKDWWKHDSSURYHGODEHOLQJDQG5(06
              SURJUDPVWLSXODWHWKDWSUHVFULEHUVPXVWEHDEOHWRUHIHUSDWLHQWVIRUDGGLWLRQDOFDUH
              LQFOXGLQJVXUJLFDOPDQDJHPHQWDOORZLQJWKHVHSUHVFULEHUVWRSDUWLFLSDWHLQWKH0LIHSUH[
              5(06SURJUDPLVDFFHSWDEOH
              
                    (b) (6)
              7KH          DOVRFRQFXUUHGZLWKWKHWHDPV¶UHFRPPHQGDWLRQWRUHPRYHWKH3DWLHQW
                                                                            (b) (6)
              $JUHHPHQW (7$68' IURPWKH5(06DOWKRXJKVRPH                      PHPEHUVFRPPHQWHGWKDW
              DGGLWLRQDOVXSSRUWIRUWKHUHYLHZWHDP¶VUDWLRQDOHIRUWKLVPRGLILFDWLRQZDVQHHGHG7KH
              UHYLHZWHDP¶VUDWLRQDOHIRUWKLVFKDQJHZDV




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                  x     7KHVDIHW\SURILOHRI0LIHSUH[LVZHOOFKDUDFWHUL]HGRYHU\HDUVRIH[SHULHQFH
                        ZLWKNQRZQULVNVRFFXUULQJUDUHO\WKHVDIHW\SURILOHKDVQRWFKDQJHGRYHUWKH
                        SHULRGRIVXUYHLOODQFH
                  x     (VWDEOLVKHGFOLQLFDOSUDFWLFHLQFOXGHVSDWLHQWFRXQVHOLQJDQG,QIRUPHG&RQVHQW
                        DQGPRUHVSHFLILFDOO\ZLWK0LIHSUH[LQFOXGHVFRXQVHOLQJRQDOORSWLRQVIRU
                        WHUPLQDWLRQRISUHJQDQF\DFFHVVWRSDLQPDQDJHPHQWDQGHPHUJHQF\VHUYLFHVLI
                        QHHGHG
                  x     0HGLFDODERUWLRQZLWK0LIHSUH[LVSURYLGHGE\DZHOOHVWDEOLVKHGJURXSRI
                        RUJDQL]DWLRQVDQGWKHLUDVVRFLDWHGSURYLGHUVZKRDUHNQRZOHGJHDEOHLQWKLVDUHD
                        RIZRPHQ¶VKHDOWK7KHLUGRFXPHQWVDQGJXLGHOLQHVFRYHUDOOWKHVDIHW\
                        LQIRUPDWLRQWKDWDOVRDSSHDUVLQWKH3DWLHQW$JUHHPHQW
                  x     (7$68V$DQG&UHPDLQLQSODFH7KH3UHVFULEHU¶V$JUHHPHQWXQGHU(7$68$
                        UHTXLUHVWKDWSURYLGHUV³H[SODLQWKHSURFHGXUHIROORZXSDQGULVNVWRHDFKSDWLHQW
                        DQGJLYHKHUDQRSSRUWXQLW\WRGLVFXVVWKHP´7KH5(06ZLOOFRQWLQXHWRUHTXLUH
                        WKDW0LIHSUH[EHGLVSHQVHGWRSDWLHQWVRQO\LQFHUWDLQKHDOWKFDUHVHWWLQJV
                        VSHFLILFDOO\FOLQLFVPHGLFDORIILFHVDQGKRVSLWDOV7KLVHQVXUHVWKDW0LIHSUH[
                        FDQRQO\EHGLVSHQVHGXQGHUWKHGLUHFWVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHU
                  x     /DEHOLQJPLWLJDWHVULVN7KH0HGLFDWLRQ*XLGHZKLFKZLOOUHPDLQDSDUWRI
                        ODEHOLQJFRQWDLQVWKHVDPHULVNLQIRUPDWLRQFRYHUHGXQGHUWKH3DWLHQW$JUHHPHQW
              
              7KH0LIHSUH[5(06SURJUDPZLOOKDYHDPRGLILHG(7$685(06WKDWZLOOFRQWLQXHWR
              HQVXUHWKDW0LIHSUH[FDQRQO\EHSUHVFULEHGE\FHUWLILHGSUHVFULEHUVDQGEHGLVSHQVHGWR
              SDWLHQWVLQFHUWDLQKHDOWKFDUHVHWWLQJVVSHFLILFDOO\FOLQLFVPHGLFDORIILFHVDQGKRVSLWDOV
              7KH0HGLFDWLRQ*XLGHZLOOFRQWLQXHWREHGLVWULEXWHGWRSDWLHQWVUHTXLUHGXQGHU&)5
              SDUW$VUHTXLUHGIRUDOO(7$685(06RQJRLQJDVVHVVPHQWVRIWKH0LIHSUH[5(06
              SURJUDPZLOOFRQWLQXHWRHQVXUHWKDWWKHPRGLILHG0LIHSUH[5(06SURJUDPLVPHHWLQJ
              LWVJRDOV
              
              13. Decision/Action/Risk Benefit Assessment
              
              'HFLVLRQ

              $OOUHJXODWRU\DQGVFLHQWLILFUHTXLUHPHQWVKDYHEHHQDGHTXDWHO\DGGUHVVHGLQWKLVHIILFDF\
              VXSSOHPHQW5HYLHZWHDPVLQYROYHGLQWKLVVXSSOHPHQWKDYHUHFRPPHQGHGDSSURYDORI
              WKHVXSSOHPHQWIURPWKHLUGLVFLSOLQHV¶SHUVSHFWLYH7KHVXEPLWWHGHIILFDF\DQGVDIHW\
              LQIRUPDWLRQVXSSRUWHGDSSURYDORIWKHSURSRVHGGRVLQJUHJLPHQWKURXJKGD\V
              JHVWDWLRQDQGRWKHUFKDQJHVGLVFXVVHGLQWKLVVXPPDU\PHPR7KLVVXSSOHPHQWZLOO
              UHFHLYHDQ$SSURYDODFWLRQ

              %HQHILW5LVN$VVHVVPHQW

              7KLVHIILFDF\VXSSOHPHQWSURYLGHGVXEVWDQWLDOHYLGHQFHRIHIILFDF\IRUWKHSURSRVHG
              GRVLQJUHJLPHQWKURXJKGD\VJHVWDWLRQ7KHHIILFDF\ILQGLQJVZHUHVLPLODUWRWKRVH
              WKDWOHGWRWKHDSSURYDORIWKHRULJLQDOGRVLQJUHJLPHQLQ,QDGGLWLRQWKHVXEPLWWHG
              SXEOLVKHGOLWHUDWXUHVXSSRUWHGRWKHUFKDQJHVVRXJKWLQWKLVHIILFDF\VXSSOHPHQWWKDWZLOO


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              EHUHIOHFWHGLQODEHOLQJ DPRUHIOH[LEOHWLPHLQWHUYDORIWRKRXUVEHWZHHQ
              0LIHSUH[DQGPLVRSURVWRODGPLQLVWUDWLRQ WKHRSWLRQRIDWKRPHDGPLQLVWUDWLRQRI
              PLVRSURVWRO WKHRSWLRQRIUHSHDWPLVRSURVWROGRVLQJLIFOLQLFDOO\LQGLFDWHG 
              IOH[LELOLW\LQWKHIROORZ±XSWLPHIUDPHRIWRGD\VDQG SHUPLWWLQJTXDOLILHG
              KHDOWKFDUHSURYLGHUVRWKHUWKDQSK\VLFLDQVWRSUHVFULEH0LIHSUH[

              7KHVDIHW\ILQGLQJVRIWKHSURSRVHGGRVLQJUHJLPHQZHUHDFFHSWDEOHDQGZHUHVLPLODUWR
              WKRVHVHHQZLWKWKHRULJLQDOGRVLQJUHJLPHQDSSURYHGLQ

              $IWHUUHYLHZRIWKH5(06PRGLILFDWLRQVSURSRVHGE\WKH6SRQVRU,FRQFXUZLWKWKH
                                   (b) (6)
              FOLQLFDOWHDPDQG           UHFRPPHQGDWLRQVWKDW

                   7KH0HGLFDWLRQ*XLGHFDQEHUHPRYHGIURPWKH0LIHSUH[5(06SURJUDP7KH
              0HGLFDWLRQ*XLGHUHTXLUHPHQWVXQGHU&)5SDUWUHTXLUHWKH0HGLFDWLRQ*XLGHWR
              EHGLVWULEXWHGWRSDWLHQWV0LIHSUH[ZLOORQO\EHGLVSHQVHGE\DKHDOWKFDUHSURIHVVLRQDO
              ZKRZLOOEHNQRZOHGJHDEOHDQGDEOHWRSURYLGHWKHSDWLHQWLQVWUXFWLRQVRQDSSURSULDWHXVH
              RIWKHGUXJLQFOXGLQJZKDWSRWHQWLDOVLGHHIIHFWVPD\RFFXURUIROORZXSWKDWPD\EH
              UHTXLUHGDVDSSURSULDWHDQGZKRZLOODQVZHUDQ\TXHVWLRQVWKHSDWLHQWPD\KDYH,QWKDW
              VHWWLQJWKH0HGLFDWLRQ*XLGHZLOODOUHDG\EHDUHTXLUHGDYDLODEOHWRROIRUFRXQVHOLQJ
              7KHUHIRUHJLYHQWKHH[LVWLQJUHTXLUHPHQWVXQGHU&)5SDUW,FRQFXUWKDWWKHUHLV
              QRUHDVRQIRUWKH0HGLFDWLRQ*XLGHWRVSHFLILFDOO\EHDSDUWRIWKH5(06

                  7KH3UHVFULEHU$JUHHPHQW)RUP (7$68$ DVUHYLVHGUHIOHFWVFXUUHQW)'$
              IRUPDWDQGFRQWHQWWRFRQIRUPWRFXUUHQW5(06SURJUDPVDQGUHIOHFWWKHODEHOLQJ
              FKDQJHVWKDWZLOOEHDSSURYHGLQWKLVVXSSOHPHQW,FRQFXUWKDWWKHFKDQJHVDUH
              DFFHSWDEOH

                   5HYLVLRQRIWKH0LIHSUH[5(06JRDOV (7$68& ZLOODGHTXDWHO\PLWLJDWHWKH
              ULVNRIVHULRXVFRPSOLFDWLRQVE\UHTXLULQJFHUWLILFDWLRQRIKHDOWKFDUHSURYLGHUVZKR
              SUHVFULEHDQGHQVXULQJWKH0LIHSUH[LVGLVSHQVHGRQO\LQFHUWDLQKHDOWKFDUHVHWWLQJVE\RU
              XQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHU

                    5HPRYDORIWKH3DWLHQW$JUHHPHQW)RUP (7$68' ,FRQFXUZLWKWKHFOLQLFDO
              UHYLHZWHDPWKDWWKH3DWLHQW$JUHHPHQW)RUPZKLFKUHTXLUHVDSDWLHQW¶VVLJQDWXUHGRHV
              QRWDGGWRVDIHXVHFRQGLWLRQVIRUWKHSDWLHQWIRUWKLV5(06DQGLVDEXUGHQIRUSDWLHQWV
              ,WLVVWDQGDUGRIFDUHIRUSDWLHQWVXQGHUJRLQJSUHJQDQF\WHUPLQDWLRQWRXQGHUJRH[WHQVLYH
              FRXQVHOLQJDQGLQIRUPHGFRQVHQW7KH3DWLHQW$JUHHPHQW)RUPFRQWDLQVGXSOLFDWLYH
              LQIRUPDWLRQDOUHDG\SURYLGHGE\HDFKKHDOWKFDUHSURYLGHURUFOLQLF,EHOLHYHWKDWLWLV
              PXFKPRUHFULWLFDOIRUWKHKHDOWKFDUHSURYLGHUZKRRUGHUVRUSUHVFULEHV0LIHSUH[WR
              SURYLGHDQGGLVFXVVLQIRUPHGFRQVHQWGHULYHGIURPWKHLURZQSUDFWLFHVRWKDWFDUHFDQEH
              LQGLYLGXDOL]HGIRUWKHSDWLHQW




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Reference ID: 3909594                        Alliance.App. 148                                   EX. 32 pg. 026
     Case: 23-10362   Document: 95-2 Page: 39 Date Filed: 04/11/2023
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                          Alliance.App. 149                       EX. 32 pg. 027
                  Case: 23-10362   Document: 95-2 Page: 40 Date Filed: 04/11/2023
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     electronically and this page is the manifestation of the electronic
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Reference ID: 3909594                                 Alliance.App. 150                      EX. 32 pg. 028
    Case: 23-10362    Document: 95-2 Page: 41 Date Filed: 04/11/2023
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                 Exhibit 13
    2002 Citizen Petition of Am. Ass’n of Pro-Life
  Obstetricians & Gynecologists to U.S. Food & Drug
             Admin. (FDA) (Aug. 20, 2002)




                         Alliance.App. 151
    Case: 23-10362    Document: 95-2 Page: 42 Date Filed: 04/11/2023
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                         Alliance.App. 152                        EX. 13 pg. 01
    Case: 23-10362    Document: 95-2 Page: 43 Date Filed: 04/11/2023
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                         Alliance.App. 153                        EX. 13 pg. 02
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                         Alliance.App. 154                        EX. 13 pg. 03
    Case: 23-10362    Document: 95-2 Page: 45 Date Filed: 04/11/2023
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                         Alliance.App. 155                        EX. 13 pg. 04
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                         Alliance.App. 156                        EX. 13 pg. 05
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    Case: 23-10362    Document: 95-2 Page: 48 Date Filed: 04/11/2023
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                         Alliance.App. 158                        EX. 13 pg. 07
    Case: 23-10362    Document: 95-2 Page: 49 Date Filed: 04/11/2023
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                         Alliance.App. 159                        EX. 13 pg. 08
     Case: 23-10362   Document: 95-2 Page: 50 Date Filed: 04/11/2023
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                          Alliance.App. 160                       EX. 13 pg. 09
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                          Alliance.App. 161                      EX. 13 pg. 010
     Case: 23-10362   Document: 95-2 Page: 52 Date Filed: 04/11/2023
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                          Alliance.App. 162                      EX. 13 pg. 011
     Case: 23-10362   Document: 95-2 Page: 53 Date Filed: 04/11/2023
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                          Alliance.App. 163                      EX. 13 pg. 012
     Case: 23-10362   Document: 95-2 Page: 54 Date Filed: 04/11/2023
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                          Alliance.App. 164                      EX. 13 pg. 013
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                          Alliance.App. 165                      EX. 13 pg. 014
     Case: 23-10362   Document: 95-2 Page: 56 Date Filed: 04/11/2023
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                          Alliance.App. 166                      EX. 13 pg. 015
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                          Alliance.App. 167                      EX. 13 pg. 016
     Case: 23-10362   Document: 95-2 Page: 58 Date Filed: 04/11/2023
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                          Alliance.App. 168                      EX. 13 pg. 017
     Case: 23-10362   Document: 95-2 Page: 59 Date Filed: 04/11/2023
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                          Alliance.App. 169                      EX. 13 pg. 018
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